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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

KHOLKAR VISHVESHWAR GANPAT,               *                  CIVIL ACTION
    Plaintiff,                            *
                                          *                  NO. 18-13556 “E” (4)
VERSUS                                    *
                                          *                  JUDGE SUSIE MORGAN
EASTERN PACIFIC SHIPPING PTE. LTD.,       *
d/b/a “EPS”,                              *                  CHIEF MAGISTRATE JUDGE
       Defendant.                         *                  KAREN WELLS ROBY
*******************************************

MAY IT PLEASE THE COURT:

                                      I. INTRODUCTION

       Kholkar Vishveshwar Ganpat (“Plaintiff”) respectfully responds to Eastern Pacific Shipping

Pte Ltd’s (“EPS”) July 28, 2022 “Motion for Leave to Amend and Supplement its Answer.”1 The

answer which ECF proposes to amend and supplement was filed on February 17, 2022.2 For the

reasons set forth below, Plaintiff suggests EPS’ motion should be denied.

       EPS has again filed a belated motion3 and now wants to amend its answer eleven months

after Plaintiff filed his September 14, 2021 “First Supplemental Complaint for Damages.”4 The



       1
           Rec. Doc. 319.
       2
           Rec. Doc. 230.
       3
         For example, EPS waited thirty-two months before filing its August 25, 2021 “Motion to
Dismiss on Grounds of Forum Non Conveniens” (Rec. Doc. 204) despite recognizing this issue
in its January 5, 2019 “Fed. R. Civ. P. 12(b)(5) Motion to Dismiss for Insufficient Service of
Process” (Rec. Doc. 16-1 at n.3) (“Even if there was personal jurisdiction over Eastern Pacific,
this forum is not a proper or convenient forum for this dispute, which is entirely unrelated to this
District ...”).
       4
           Rec. Doc. 212

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answer which ECF proposes to amend and supplement was filed almost six months ago, on February

17, 2022.5 This request should be denied.

       A perfect example of “undue delay” and “dilatory motive” was EPS waiting thirty-two

months before filing its forum non conveniens motion despite identifying the issue on page one of

its January 5, 2019 motion to dismiss.6 This Court characterized that delay as “a classic example of

untimeliness ‘weighing heavily against the granting of the motion because a defendant's dilatoriness

promote[d] and allow[ed] the very incurrence of costs and inconvenience the doctrine is meant to

relieve.’”7 Plaintiff suggests that EPS has unduly delayed answering for eleven months and the

proposed new affirmative defenses raise new factual issues with no reasonable time left for

discovery.8

       EPS relies upon Blouin9 for the proposition that a plaintiff must demonstrate to the Court that

a “substantial reason” to deny a defendant motion to amend its answer exists. Here, unlike in Blouin

where enough time remained before trial for the plaintiff to conduct discovery on those new factual




       5
           Rec. Doc. 230.
       6
           Rec. Doc. 16-1 at p. 1.
       7
           Rec. Doc. 221 at p. 28.
       8
        Perhaps this is more gamesmanship, perhaps not, but the instant motion is set for
submission on August 17, 2022 which is only three work days before the August 23, 2022
discovery deadline. Assuming the Court instantly rules on this motion, how is Mr. Kholkar
supposed to obtain discovery in three days?
       9
        Blouin v. Kaiser Aluminum & Chem. Corp., No. 95-0503, 1995 WL 731689, at *1 (E.D.
La. Dec. 8, 1995)

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issues, no such luxury of time exists here. EPS also relies on Boice-Durant,10 where Your Honor

allowed a plaintiff to amend when there was no evidence of undue delay, no bad faith or dilatory

motive, it was a first request to amend complaint, there was a finding of no prejudice to defendant,

and there was no indication the amendment was futile.

       EPS could have (and should have) asserted these three new fact-based defenses within the

14-day time period provided in Rule 15(a)(3) after Plaintiff filed his September 14, 2022 First

Supplemental Complaint. This would not have interfered with EPS’ choice of law and forum non

conveniens motions which had been filed on August 25, 2022. Nor would it have affected the

subsequent injunction proceeding, the interlocutory appeal, or the mandamus proceeding.

       EPS made a strategic decision to delay filing its answer during the pendency of the two

August 25, 2021 motions to dismiss and this action discloses a dilatory motive. EPS obviously

hoped to prevail on one or both motions and thereby avoid answering. As such, EPS dug itself into

a hole, rolled the dice, and lost. This delay including waiting until after the Fifth Circuit mandamus

proceeding on the forum non conveniens issue ended on July 11, 2022. Had EPS simply answered

on or before September 29, 2021, this motion would not be before the Court.

       Only three working days will remain between this motion’s August 17, 2022 submission date

and the September 23,2022 discovery deadline.11 This problem was caused entirely by EPS, and



       10
          Boice-Durant v. Kenner Police Dep't, No. CIV.A. 12-603, 2013 WL 1335643, at *5
(E.D. La. Mar. 29, 2013).
       11
         At page four of its supporting memorandum, EPS writes that “Trial is still nearly four
months away.” No, it’s really just over three months away, and the reason there is a discovery
deadline is to allow time for dispositive motions, Daubert motions, Pre-Trial Order preparation,
jury charges and interrogatories, and final trial preparation.


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certainly qualifies per se as “undue delay” or perhaps more gamesmanship. Given the international

aspects of this case, how can it be expected that Plaintiff can obtain any meaningful discovery on the

three proposed affirmative defenses12 before the imminent September 23, 2022 deadline?13

       EPS writes:

       “There is no surprise or prejudice to the Plaintiff. Indeed, the issue of Plaintiff’s
       comparative negligence was raised in Eastern Pacific’s answers to Plaintiff’s
       interrogatories in response to Interrogatory No. 5 (attached as Exhibit B) and has
       become apparent as factual discovery has progressed in this case.

       EPS’ answer to Interrogatory No. 5 is a testament to ambiguity and the ipse dixit of defense

counsel. It does not present any facts from which show the existence of a legitimate comparative

fault issue. For example, this answer states:

*      “Plaintiff may have been comparatively negligent by not taking or asking for anti-
       malarials that were available to him aboard M/V STARGATE.”

       This is rank speculation and not evidence of any misconduct or actions by Mr. Kholkar.

*      “Plaintiff was comparatively negligent in going ashore in Gabon wearing short sleeves
       and shorts in an area he knew to have a high incidence of malaria during certain
       seasons...”

       This is rank speculation too because EPS has not produced any evidence which supports this

claim about Mr. Kholkar’s garb in Gabon, nor can it know what Mr. Kholkar knew about the malaria

incidence rate in April 2017.14



       12
          These are: (1) comparative or third-party fault, (2) failure to mitigate, and (3) accord and
satisfaction or set-off.
       13
         What third-party fault? EPS was the sole manager of M/V STARGATE. It alone was
responsible for providing appropriate anti-malaria medicine to the crew.
       14
        In its answer to Interrogatory No. 4, EPS wrote that “Due to the unseasonably dry and
cool weather in Gabon at the time, local agents advised that the risk of malaria was low.”

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*      Plaintiff “failed to take bit avoidance measures.”

       More speculation. EPS does not know what type of clothing Mr. Kholkar wore, or whether

he had access to mosquito spray. And what would someone do to completely avoid mosquito bites,

wear a Tyvek suit, face mask, and bottled oxygen?

*      “Crew members had the opportunity to purchase medical supplies at a pharmacy in
       Gabon, or on the street, if they were concerned about their health.”

       This is another unsupported statement of defense counsel.            No one knows what

“opportunities” Mr. Khokar had to purchase medical supplies. Why would he have that need unless

EPS failed to provide appropriate prophylactic medication before M/V STARGATE arrived in

Gabon? This is not comparative fault.

       EPS presents no evidence of a failure to mitigate issue, an accord and satisfaction issue, or

a set-off issue and, even if it had, three days is jot enough to undertake any meaningful discovery.

                         IV. THE STATUTE OF LIMITATIONS ISSUE

       This issue was not featured in EPS’ motion, but it has recently been raised in the Fifth

Circuit and it bears on Your Honor’s April 5, 2022 permanent injunction. In that Order, Your Honor

ordered EPS and EPS India to dismiss their Indian lawsuit.15 On April 12, they filed an “Application

seeking conditional withdrawal the present Special Civil Suit No. 64/2020/III.”16

       Rather than promptly have the motion heard and obtain a dismissal order, EPS and EPS India

hoped to delay the hearing until October 3, 2022.17 Back here in Louisiana, on June 22, 2022, EPS


       15
            See Rec. Doc. 265 at p. 29.
       16
            See Rec. Doc. 273-3.
       17
        See Rec. Doc. 316 at pp. 2-3 where EPS wrote: “Eastern Pacific had counsel present at
the Goa Court June 22, 2022, when the proper judge called the case and that judge rescheduled

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requested an expedited consideration by the Fifth Circuit of its interlocutory appeal of the permanent

injunction.18 As EPS explained to the Indian Court, but not to either Court in New Orleans, it was

its hope to obtain a favorable Fifth Circuit ruling on the injunction appeal before the Indian Court

dismissed the Indian lawsuit.19 This tactic would theoretically preserve the life of the “vexatious and

oppressive” Indian lawsuit.

        Of course, things went off the rails and the Indian Court dismissed the lawsuit on June 22,

2022. It is unknown if that dismissal was with or without prejudice. Mr. Kholkar suggests that this

is a distinction with no difference. Why? Because a dismissal with prejudice is res judicata and

dismissal without prejudice (i.e., an abandonment of suit) after the statute of limitations has run

deprives these litigants of their right of action. They are different theories but both result in the end

of the lawsuit.

        Here, Captain Owen Bona was served with copies of the summons and complaint on

December 15, 2018 while his EPS-managed vessel, the M/V BANDA SEA, was at anchor in the Port

of New Orleans. Regardless of this Court ultimately finding him an inappropriate target of service,20

Captain Bona immediately e-mailed a scanned copy of the process to EPS’ Fleet Captain and

Director, Anil Singh. Captain Singh gave it to EPS’ legal department. EPS also claims that it had

independent knowledge of the suit through “docket monitoring.” EPS’ actual knowledge of the

lawsuit arrived in Singapore (across the international date line) on December 16, 2018.


the Eastern Pacific motion to dismiss – without prejudice – for hearing October 3, 2022.”
        18
             See Rec. Doc. 00516366275 in U.S. Fifth Circuit No. 22-30362.
        19
             See Rec. Doc. 273-3 at pp. 8-9.
        20
             Rec. Doc. 122.

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        All of the foregoing is important because India’s Limitation Act of 1963 provides a schedule

of the periods of limitation21 for suits relating to accounts, for suits relating to contracts, for suits

relating to declarations, for suits relating to decrees and instruments, for suits relating to immovable

property, for suits relating to movable property, for suits relating to tort, for suits relating to trusts

an trust property, and for suits for which there is no prescribed period.22 Mr. Kholkar respectfully

requests that this Court take judicial notice23 of India’s Limitation Act, 1963.24

        Where India’s Limitation Act of 1963 has not provided a specific limitations period, its

Schedule at Article 113 provides a three-year period for “Any suit for which no period of limitation

is provided elsewhere in this Schedule.”25 This three-year period begins to run “When the right to

sue accrues.”26 Mr. Kholkar suggests that the prescriptive period began to run on December 16,

2018 when Fleet Captain and EPS Director Anil Singh received copies of the Summons and

Complaint by e-mail from Captain Owen Bona. This three-year period ended on December 17,

2021.

        Ordinarily, the filing of suit in a court of competent jurisdiction and venue only interrupts

prescription as to the cause sued upon, provided the plaintiff is a proper party plaintiff.      Thus, if




        21
             See https://legislative.gov.in/sites/default/files/a1963-36.pdf.
        22
             Id.
        23
          See Fed. R. Civ. Evid. 201(c)(2). “The court must take judicial notice if a party requests
it and the court is supplied with the necessary information.”
        24
             See https://legislative.gov.in/sites/default/files/a1963-36.pdf.
        25
             Id.
        26
             Id.

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EPS and EPS India were not proper plaintiffs, interruption never occurred and prescription has run.

Interruption also does not occur if a plaintiff voluntarily dismisses the action. Here, regardless of

whether EPS and EPS India were proper party plaintiffs, the Indian Court dismissed their lawsuit and

that retroactively means interruption did not occur and prescription has run. In turn, this means the

present interlocutory appeal is moot because:

       (a)     A dismissal with prejudice results in res judicata; or

       (b)     A dismissal without prejudice after the statute of limitations has run deprives EPS

               of its right of action.

                                         CONCLUSION

       For the reasons set forth in this Memorandum, EPS’ motion should be denied.

                                                      Respectfully submitted,

                                                       /s/ Richard M. Martin, Jr.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing pleading has this day been
forwarded to the following counsel of record to this proceeding by electronic transmission, facsimile
and/or by depositing same in the United States Postal Service, properly addressed and postage
prepaid, this 9th day of August, 2022.

                                                      /s/ Richard M. Martin, Jr.
                                                      Richard M. Martin, Jr.




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